











					 





In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00508-CR

____________


KELLY RASHON BUSBY, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 230th District Court

Harris County, Texas

Trial Court Cause No. 902607






MEMORANDUM  OPINION

	Appellant pleaded guilty to sexual assault, and, in accordance with a plea
bargain agreement with the State, was sentenced to three years confinement. 
Appellant filed a timely notice of appeal.  We dismiss the appeal for lack of
jurisdiction.

	Appellant filed a general notice of appeal that did not comply with the
requirements of Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure in that it
did not state that the appeal was for a jurisdictional defect, that the substance of the
appeal was raised by written motion and ruled on before trial, or that the trial court
granted permission to appeal.  See Tex. R. App. P. 25.2(b)(3).  Appellant may not now
file an amended notice of appeal to correct jurisdictional defects.  State v. Riewe, 13
S.W.3d 408, 413-14 (Tex. Crim. App. 2000).

	An appellate court is without jurisdiction in felony cases such as the present
one in which: (1) the defendant entered a plea of guilty or no contest based on a plea
bargain agreement; (2) the trial court followed the agreement in assessing
punishment; and (3) a general notice of appeal was filed.  See White v. State, 61
S.W.3d 424, 429 (Tex. Crim. App. 2001); Cooper v. State, 45 S.W.3d 77, 83 (Tex.
Crim. App. 2001).

	We also note that appellant waived his right to appeal if the trial court
followed the plea bargain agreement.  See Buck v. State, 45 S.W.3d 275, 278 (Tex.
App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

	All pending motions are denied as moot.

PER CURIAM


Panel consists of Chief Justice Schneider, and Justices Nuchia and Radack.

Do not publish.   Tex. R. App. P. 47.


